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                        Exhibit 4

               Remaining Owned Properties
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Remaining Owned Real Property Assets


                                                                                          Total
Site #     Street Address                  City               State   Zip       Doors     Sq. Ft.   Acreage
Y421       3518 Industrial Parkway         Birmingham         AL      35217         50     25,397       8.2
Y429       1111 Virginia Street            Mobile             AL      36604         24      6,972       2.3
Y415       5680 Old Hayneville Road        Montgomery         AL      36108          18    6,540        5.1
Y813       1535 E Pescadero Avenue         Tracy              CA      95304         167   164,633      54.9
R790       620 Harbor Boulevard            W Sacramento       CA      95691         35    13,050        5.1
N139       130 Canal Street                Southington        CT      6489          46     23,100       5.5
Y730       3404 Clifford Lane              Jacksonville       FL      32209         45    27,450       10.0
Y433       345 Roadway Drive               Ringgold           GA      30736         198   115,200      95.0
Y412       677 Hudson Road                 LaGrange           GA      30240          17    4,050        4.3
H397       3219 Nebraska Avenue            Council Bluffs     IA      51501         39    25,960        5.1
H368       700 NE Arch Street              Atlanta            IL      61723         46     16,521       7.8
Y309       2000 East Lincoln Highway       Chicago Heights    IL      60411        426 283,000        103.6
H244       4885 Keystone Boulevard         Jeffersonville     IN      47130         80     44,287      21.9
H341       4320 Merchant Road              Fort Wayne         IN      46818         75    30,573        6.0
           2815 S Highway 27               Goodland           KS      67735                             3.5
Y404       333 N 3rd Street                Alexandria         LA      71301          15    7,000        2.0
Y473       956 Hwy 190 West                Port Allen         LA      70767          31    9,850        5.9
Y480       158 Parker Road                 Monroe             LA      71202         10     4,950        2.0
Y153       311 East Oak Ridge Drive        Hagerstown         MD      21740         136    71,421      39.2
Y155       6311 E Lombard Street           Baltimore          MD      21224         54     25,185      10.7
Y154       75 Eisenhower Drive             Westbrook          ME      4092           18     7,505       5.2
Y191       44 Sheridan Drive               Fairfield          ME      4937           12     5,100        1.1
H263       11740 Dixie Highway             Birch Run          MI      48415         40     18,323       9.5
Y223       1280 Joslyn Avenue              Pontiac            MI      48340         80    37,025       30.3
H340       172 Industrial Parkway          Jackson            MN      56143          16     5,750       4.1
           8724 Leeds Road                 Kansas City        MO      64129                             0.1
Y455       102 Carrier Boulevard           Richland           MS      39218         117    73,234      31.6
Y462       2226 McCullough Boulevard       Tupelo             MS      38801          12    3,540        9.9
Y656       161 Center Street               Jacksonville       NC      28540          14     6,693       1.4
Y679       1061 River Road                 Fayetteville       NC      28301          17    4,050        3.9
Y864       2502 7th Avenue N               Fargo              ND      58102         27    10,840        4.2
Y381       4480 S 90th Street              Omaha              NE      68127         67     25,754       8.6
Y165       1641 Eden Road                  Millville          NJ      8332          20      5,833       3.9
Y123       1000 Homestead Avenue           Maybrook           NY      12543        304    177,600      51.2
Y132       99 Express Street               Plainview          NY      11803         38     21,600       2.4
Y216       10074 Princeton-Glendale Road   Cincinnati         OH      45246         216   175,030      42.9
H425       20820 Midstar Drive             Bowling Green      OH      43402         80     43,735      24.1
Y212       3020 Gale Drive                 Hubbard            OH      44425         28      7,284       4.5
Y240       285 Blair Street                Oshawa             ON      L1N 9V9       42    23,520       15.0
N128       2950 Grand Avenue               Neville Island     PA      15225         30     17,926       7.7
Y178       1284 S Main Road                Mountain Top       PA      18707         56    42,989       51.0
Y108       55 Industrial Road              Cumberland         RI      2864          92    41,900       10.0
Y683       1308 Pineview Drive             Columbia           SC      29209         29      7,883       8.1
Y695       2257 S Main Street              Florence           SC      29501         24      9,070       3.5
Y432       1212 Hilton Road                Knoxville          TN      37921         68    26,443        7.3
Y431       3310 Gill Road                  Memphis            TN      38109         198   125,632      51.6
